                                               Entered on Docket
                                               February 20, 2019
                                               EDWARD J. EMMONS, CLERK
                                               U.S. BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA



 1
     Andrew D. Weiss SBN 121149
     LAW OFFICES OF ANDREW D. WEISSThe following constitutes the order of the Court.
 2
     26459 Rancho Parkway South    Signed: February 20, 2019
 3   Lake Forest, California 92630
     Telephone: (949) 360-9478
 4   Facsimile: (949) 360-0302     _________________________________________________
     Email: oclawadw@aol.com       M. Elaine Hammond
     Attorney for Creditor         U.S. Bankruptcy Judge
 5
     Kurt Miller
 6

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 8                        UNITED STATES BANKRUPTCY COURT
 9            NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
10

11
     In Re:                                              Case No. 18-51575 MEH
12
                                                         Chapter 13
13            GLORIA CABRAL ROBLES,
                                                         ORDER OF DISMISSAL
14
                           Debtor.                       Date: January 25, 2019
15                                                       Time: 1:00 p.m.
                                                         Courtroom: 3020
16

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18            The motion of creditor Kurt Miller to dismiss the above-captioned bankruptcy
19   proceeding came regularly for hearing on January 25, 2019, at 1:00 pm. In Courtroom
20   3020, the Honorable M. Elaine Hammond, judge presiding. Andrew D. Weiss of the Law
21   Offices of Andrew D. Weiss appeared for creditor and moving party, Kurt Miller. Linda
22   Keny of The Litigation Law Group appeared for debtor, Gloria Cabral Robles.
23            Having reviewed the moving and opposing papers, having heard oral argument,
24   and in accordance with the oral statement of decision given by the Court on the record:
25            IT IS HEREBY ORDERED the above-captioned bankruptcy proceeding is
26   dismissed on the basis it was filed in bad faith.
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     Submitted by:

 3                                         LAW OFFICES OF ANDREW D. WEISS
 4
     Dated: February 12, 2019_ ______      By: s/ Andrew D. Weiss _
 5
                                              Andrew D. Weiss
 6                                            Attorney for Creditor Kurt Miller

 7
                                  **END OF ORDER.**
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                                          Court Service List

 2   Capital One Auto Finance, a division of Capital One, N.A., c/o AIS Portfolio Services, LP
     4515 N Santa Fe Ave. Dept. APS
 3
     Oklahoma City, OK 73118
 4
     Synchrony Bank
 5   c/o PRA Receivables Management, LLC
     P.O. Box 41021
 6
     Norfolk, VA 23541
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